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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adiustment of Debtsi

U

Original Plan

 

|:| 5tli

Amended Plan (Indicate Ist, an, etc. Amended, if applicable)

 

E

Modified Plan (Indicate ist, 2nd, etc. Modified, if applicable)

 

 

DEBTOR: Guillermo Rodriguez JOINT DEBTOR: CASE NO.: 17-22545-IKO
SS#: xxx-xx- 9667 SS#: xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. Ali plans, amended plans
and modified plans shall be served upon all creditors and a certificate of service filed with the Clerlc pursuant to
Local Rules 2002-1 (C)(S}, 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may

be i'educed, modified or eliininated.

To All Parties: The plan contains no nonstandard provisions other than those set out iii paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Scction III, which may result in a

 

 

 

 

partial payment or no payment at all to the secured creditor |:| Included |:| Not mcluded
Avo.idance_of` a judicial lien or nonpossessory, nonpurchase-money security interest, set |:| lncluded |:I Not included
out in Section III

Nonstandard provisions, set out in Section VIII |:| Included |:| Not included

 

 

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR¢S!' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of` the creditors the amounts listed beiow, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

l. $12881.02 for niontlis; to_S_;
2. $22448.96 for months L to_lO_;
3. $22382.06 for monthsL to L ;
B. DEBTOR{S]' ATTORNEY'S FEE: m NONE E:] PRO BONO
Total Fecs: $3650.00 Total Paid: $1650.00 Balance Due: $2000.00
Payable $200.00 /'month (Months l to g )

Allowed fees under LR 2016-1(B)(2) are itemized bciow:
3500.{)0 + l'50.00

Applications for compensation must be filed for all fees over and above the Court's Guidelines f`oi‘ Compensation.

 

 

 

III. TREATMEN'I` OF S CURED CLAIMS

A. SECURED CLAIMS: [:l NONE
[Retain Liens pursuant to li U.S.C. §1325 (a)($)] Mortgage(s)/Lien on Reai or Pei'sonal Propeity:

 

 

 

 

 

 

l. Creditor: Ditech
Addl`€SS: POB 0049 Arrcarage/ Payof`f` on Pctit'ion Date $41,823.30
Palatme IL 60055_0049 Arrears Payment ('Cure) $466.67 /irionth (Months l tci )
Last 4 Digits Of Arrears Payment (Curc) $743.13 /nionth (Months ll to § )
AGGOUI'|t NO-l 3917 Regular Payment (Maintain) $863.35 /montli (Months l to _§_ )
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Debtor(s): Guillermo Rodi'iguez.

 

Case iiunibei': ]7-225 45 -]KO

 

 

1007 SW112 Tei'r, Pembi'ol<e Piiies FL 33025

|:| Personal PropertyfVeliicle

Description of` Collateral:

Regular Paynient (Maintain) $1,351,66 /montli (Moiiths _6_ to § )
Othei‘:
|:] Real Property Cheek one below for Real Propeity:
[:[Principal Residence |:|Esci'ow is included in the regular payments
i:|Other Real Pi'operty [:]Tlie debtor(s) will pay I:|taxes l:|insurance directly
Address of Collatei‘al:

 

 

2. Creditor: Heron Laiiding

 

Address: 4350 SW 59 Ave Bldg A
Ft Lauderdale FL 33314

Ai'i'earage/ Payof`f` on Petitioii Date 4656.82 @ 10%=5937.00

 

 

1007 SW 112 Terr, Pembi'oke Pincs FL 33025

|:I Pei'sonal Property/"Vehicle
Description of' Coilateral:

Arrears Payment (Cure) $10.00 /month (Months _i” tci )

Last 4 Digits of Ari'ears Payment (Curc) $116.74 /month (Monlhs L to _69_ )
A‘~"Coum NO': 0079 Regular Payment (Maintain) $160.00 lmoiith (Months Fml_____ to 6_0 )
Otliei‘:
i:] Real Property Check one below for Real Propeity:

|:|Principal Residence |:|Escrow is included in the regular payments

[:|Other Reai Propei‘ty |:|The debtor(s) Will pay i:ltaxes l:|insurance directly
Address of Coiiateral:

 

 

3. Creditor: SLS

 

Addi‘ess: 8742 Liicent Blvd #-3 00
Littletori CO 30129

Last 4 Digits of
Aecount No.: 3885

Other:

 

Arrearage/' Payof`f` on Petition Date $8,-229.37
Payoi`i" (Including 0% monthly interest) $10.00 /month (Months 1 to£ )
Payoff (Including 0% monthly iuterest) $162.58 /month (Months 11 to § )

 

I:l Reai Pi'opel‘ty
[:IPi'incipal Residence
\:|Othei‘ Real Propeity

Address of` Collateral:
8742 Lucent Blvd #300, Littlcton CO

|___| Pei‘sonal Property/Vehicle

Description of Collateral:

 

Check one below for Rea.l Property:
|:IEscrow is included in the regular payments

l:|'l`he debtor(s) will pay I:ltaxes |:|insui'ance directly

 

 

 

B. VALUATION OF COLLATERAL:
C. LlEN AVOIDANCE iii NONE

 

Ll"`~3l (i'ev. 101'3/17)

§ NONE

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IV.

VI.

VII.

VIII.

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Debtoi'(s): Guillermo Rodi'iguez Case numbei': l7-22545-JK()

D. SURRENDER OF COLLATERAL: Secui'ed claims filed by any creditor granted stay relief in this section shall not receive a
distribution fern the Chapter 13 Trustee.

|§] NoNE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
f`om the Chapter 13 Trustee.

[jq] NoNB
TREATMENT 0F FEES ANi) PRIORITY cLAIMS [ds defined in ii u.s.C. §507 and ii U.s.C. § iszz(a)(d)i

A. ADMINISTRATIVE FEES OTI-IER THAN DEBTORS|S!' ATTORNEY'S FEE: IE NONE
B. INTERNAL REVENUE SERVICE: [:l NONE

 

 

 

Total Due: $2,421.40 Total Payment $2,421.40
Payable: $10.00 /month (Months 6 tci )
Payable: $47.43 /'rnontli (Montlis 11 to § )

 

C. DOMESTIC SUPP(_)RT OBLIGATION(S}: ill NONE
D. OTHER: [:| NONE

 

 

1. Name of Creditor: State ofFlorida-Depaitment of Revenue

 

Payment Address: Attn: Frederick F. Rudzik, Esq.
POB 66668, Tallahassee FL 34314-6668

Total Due: $90.00 _
Payable $18.00 /month (Months 6 to£ )
Regular Payment (if applicable) $0.00 /inorith (Months to_ )

 

 

TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $38.52 /month (Months L to g )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [:] If` checked, the Debtor(s) will amend/modify to pay 100% to-all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [i] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured iionpriority

creditors pursuant to 11 U.S.C. § 1322.
EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secui'ed claims filed by any creditor;'lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

|§| NONE
iNcoivin TAX RETURNS ANi) REFUNDS: |”_"| NoNE

|i| Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Coui't) no later'than May
15th during the pendency of the Chapter 13. case. In the event the debtoi'(s)’ disposable income or tax refunds increase,
debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of`
allowed unsecured claims. [Broward/'Palm Beacli cases]

NON-STANDARD PLAN PROVISIONS [___i NONE

i:} Nonstandard provisions must be set forth belovv. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

The lRS claim is paid in ful], priority and general unsecured claim as there are no other unsecured claims.

 

m Mortgage Modification Mecliation

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Debtor(s): Guillermo Roclriguez Case nuinbei': 17-22545-JKO

 

PROPERTY OF TI-IE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of` pei'jury,

 

 

 

Debtor Joint Debtor
Guillermo Rodriguez Date Date
Robert J. Bigge, Jr., Esq. .Tune 6, 2018
Attorney with permission to sign on Date

Debtor(s)' behalf

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By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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